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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


Jane Doe, both individually and on            :
behalf of a class of others similarly
situated,                                     :    Civil Action 2:13-cv-00503

                     Plaintiff                :    Judge Frost

   v.                                         :    Magistrate Judge Abel

Franklin County, Ohio,                        :

                     Defendant


                                         ORDER

        Plaintiff Jane Doe’s July 24, 2013 motion for leave to file case with anonymous

plaintiff and to file the identity of the anonymous plaintiff under seal (doc. 5) is

GRANTED.

        Under the provisions of 28 U.S.C. §636(b)(1)(A), Rule 72(a), Fed. R. Civ. P., and

Eastern Division Order No. 91-3, pt. F, 5, either party may, within fourteen (14) days

after this Order is filed, file and serve on the opposing party a motion for

reconsideration by the District Judge. The motion must specifically designate the

Order, or part thereof, in question and the basis for any objection thereto. The District

Judge, upon consideration of the motion, shall set aside any part of this Order found to

be clearly erroneous or contrary to law.


                                                  s/Mark R. Abel
                                                  United States Magistrate Judge
